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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT


GARTNER, INC.,

                                      Plaintiff,
       vs.                                                     Civil No. 23-cv-00642

INFO-TECH RESEARCH GROUP, INC., a Delaware
Corporation, and ALIA MENDONSA, an individual,

                                      Defendants.


                                DEFENDANTS’ MOTION
                          FOR JUDGMENT ON THE PLEADINGS

                Pursuant to Rule 12(c) of the Federal Rules of Civil Procedure, Defendants Alia

Mendonsa and Info-Tech Research Group Inc. hereby move this Court for judgment on the

pleadings in their favor and dismissal of all claims and causes of action related to and arising out

of the noncompete clause in Defendant Alia Mendonsa’s employment agreement with Plaintiff

Gartner, Inc.


                In support of these motions, Defendants have submitted:


                1.     Memorandum of Law (1) in Opposition to Plaintiff’s Request for a TRO

and Preliminary Injunction; and (2) in Support of Ms. Mendonsa’s Motion to Transfer; and (3)

Defendants’ Motion for Judgment, dated June 6, 2023;


                2.     Declaration of Alia Mendonsa, dated June 5, 2023, with Exhibits A-E;


                3.     Declaration of Alia Mendonsa (Requested to be Filed Under Seal), dated

June 4, 2023; and
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                     4.   Declaration of Hannes Scheidegger, dated June 5, 2023, with Exhibits

A-G.


        Dated: June 6, 2023                           Respectfully submitted,

                                                      By: /s Edmund J. Ferdinand, III
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                                                      Counsel for Defendants




ORAL ARGUMENT REQUESTED




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